8:11-cr-00251-RFR-SMB              Doc # 141   Filed: 03/01/17     Page 1 of 1 - Page ID # 368




                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                      Plaintiff,                                      8:11CR251

        vs.
                                                                       ORDER
DONALD WILLIAM MILLER, JR.,

                      Defendant.

      Defendant Donald William Miller, Jr. appeared before the court on March 1, 2017,
regarding defendant’s Motion to Reconsider Detention [136]. The defendant was represented by
Assistant Federal Public Defender Kelly M. Steenbock, and the United States was represented by
Assistant U.S. Attorney Nancy A. Svoboda. The government did not oppose the motion. The
motion will be granted.
      IT IS ORDERED:
        1.     The defendant’s Motion to Reconsider Detention [136] is granted.
        2.     The defendant is released on current conditions of supervision with the addition
that he reside at Dismas Charities in Kearney, Nebraska, and abide by all the rules of that
facility.
        3.     Following his return to corrections, the defendant will be released to a
representative of the Federal Public Defender’s Office for transport directly to Dismas Charities.


        Dated this 1st day of March, 2017.

                                                     BY THE COURT:


                                                     s/ Susan M. Bazis
                                                     United States Magistrate Judge
